            Case 1:13-cr-00136-DAD-BAM Document 310 Filed 07/30/14 Page 1 of 2



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 5
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 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:13-CR-00136 AWI-BAM
12                                 Plaintiff,             STIPULATION AND ORDER TO SET
                                                          CHANGE OF PLEA HEARING
13   v.
                                                          DATE:      July 28, 2014
14   CHANROU YATH,                                        TIME:      10:00 a.m.
                                                          JUDGE:     Hon. Anthony W. Ishii
15                                 Defendant.
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19            Defendant, CHANROU YATH, through her counsel, Mark Coleman, and the United States

20 of America, through its counsel, Benjamin B. Wagner, United States Attorney and Grant B. Rabenn,

21 Assistant United States Attorney, hereby stipulate to set a hearing for the defendant’s Change of Plea

22 hearing on July 28, 2014 at 10:00 a.m. before Senior United States District Judge Anthony W. Ishii.
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29        Stipulation and [Proposed] Order Re:
          Change of Plea Hearing
          Case 1:13-cr-00136-DAD-BAM Document 310 Filed 07/30/14 Page 2 of 2



 1 IT IS SO STIPULATED.

 2

 3
     DATED:       July 24, 2014                          BENJAMIN B. WAGNER
 4                                                       United States Attorney
 5
                                                         /s/ Grant B. Rabenn
 6                                                       GRANT B. RABENN
                                                         Assistant United States Attorney
 7

 8 DATED:         July 24, 2014
 9
                                                         /s/ Mark Coleman
10                                                       MARK COLEMAN
                                                         Counsel for Defendant
11                                                       Chanrou Yath
12

13
                                              ORDER
14

15 IT IS SO ORDERED.

16
     Dated: July 25, 2014
17                                            SENIOR DISTRICT JUDGE

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29     Stipulation and [Proposed] Order Re:
       Change of Plea Hearing
